Case 1:25-cr-00257   Document 107-2   Filed on 07/01/25 in TXSD   Page 1 of 3




                      Exhibit 2
  Case 1:25-cr-00257             Document 107-2               Filed on 07/01/25 in TXSD            Page 2 of 3




From: James Jensen <jameslaelj@icloud.com>
Date: June 24, 2025 at 11:50:31 AM CDT
To: Glor More <moreglor52@gmail.com>
Subject: Re: Defense Attorneys

Gloria,
I have just been at a loss over the last month to know who and when I can talk to anyone about Arroyo Terminals
based on this indictment against me.
My Attorneys said I couldn’t talk to anyone who could be a potential witness or have material facts.
At least today I’m in Brownsville and meeting directly with my attorneys and the prosecution Attorneys.
From the meetings today, I hope I’ll have someone clear directions what I can do.

I’ve told them I need to get with you to complete the financials so I can get my personal taxes filed.
I also assume a lot of the records you have will be very useful to my defense.
Hopefully, if I can get that cleared we could maybe get together later this week while I’m down here.
Hope is all going well with you and family,
Thanks,
James
Sent from my iPhone


         On May 28, 2025, at 3:49 PM, Glor More <moreglor52@gmail.com> wrote:


         Good afternoon James,
         Hope you and Ms Kelly are doing well, keeping you all in my prayers. Thank you for the info,
         greatly appreciate it, if there is anything I can help with, please let me know, thank you.

         Respectfully,
         Gloria Moreno


         On Wed, May 28, 2025 at 3:35 PM James Jensen <jameslaelj@icloud.com> wrote:



          Sent from my iPhone



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Case 1:25-cr-00257           Document 107-2               Filed on 07/01/25 in TXSD             Page 3 of 3
    Respectfully,
    Gloria Moreno



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    that any U.S. Federal Tax Advice contained in this communication (including any attachments) is not
    intended or written to be used, and cannot be used, for the purpose of (i) avoiding penalties under
    the Internal Revenue Code or (ii) promoting, marketing or recommending to another party any
    transaction or matter addressed herein.




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